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AO 102 (01/09) Application for a Tracking Warrant


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                        District of
                                                    __________       New Hampshire
                                                                 District  of __________

              In the Matter of the Tracking of                       )
          (Identify the person to be tracked or describe             )
          the object or property to be used for tracking)            )
                                                                     )      Case No. 24-mj-157-01-TSM
                                                                     )
                                                                     )

                                           APPLICATION FOR A TRACKING WARRANT

        I, a federal law enforcement officer or attorney for the government, have reason to believe that the person,
property, or object described above has been and likely will continue to be involved in one or more violations of
      U.S.C. §                 . Therefore, in furtherance of a criminal investigation, I request authority to install and
use a tracking device or use the tracking capabilities of the property or object described above to determine location. The
application is based on the facts set forth on the attached sheet.
            The person, property, or object is located in this          The activity in this district relates to domestic or
            district.                                                   international terrorism.
            The person, property, or object is not now located          Other:
            in this district, but will be at the time of execution.

The tracking will likely reveal these bases for the warrant under Fed. R. Crim. P. 41(c): (check one or more)
              evidence of a crime;                                            contraband, fruits of crime, or other items illegally
                                                                              possessed;
              property designed for use, intended for use, or used            a person to be arrested or a person who is
              in committing a crime;                                          unlawfully restrained.

   I further request, for purposes of installing, maintaining or removing the tracking device, authority to enter the
   following vehicle or private property, or both:



   Delayed notice of              days (give exact ending date if more than 30 days:                           ) is requested under
   18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                                 Applicant’s signature


                                                                                           Applicant’s printed name and title
           Telephonic Conference
Sworn to before me and signed in my presence.

Date:
                                                                                                   Judge’s signature

City and state:
                                                                                                Printed name and title
